           Case 22-13471-pmm                                Doc 13            Filed 01/13/23 Entered 01/13/23 15:04:00                                                       Desc Main
                                                                             Document     Page 1 of 30

Fill in this information to identify your case and this filing:


Debtor    1             63mm
                        Fim Name
                                                     503%
                                                      Middle Name
                                                                                       W’Fm
                                                                                         Lam Name

Debtor 2
(SPOUSE. If    ﬁling)   Flrst Name                    Mmdle Name                          Last Name


United States Bankruptcy Court for the:                             District of

Case number                          “7,2   '   [a    ’H
                                                                                                                                                                         Cl Check if this is an
                                                                                                                                                                            amended ﬁling

 Ofﬁcial Form 106A/B
 Schedule AIB: Property                                                                                                                                                                                  12/15

 In each category, separately  list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
 category where you think it fits best. Be as complete and accurate as possible. If two married people are ﬁling together, both are equally
 responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write your name and case number (if known). Answer every question.


m
1.
                  Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

     Do you own or have any legal or equitable interest In any residence. building, land. or slmllar property?
     El   No. Go to Part 2.
     iYes. Where is the property?
                                                                              W at Is the property? Check all that apply.

          1.    q @YW‘M                Df'                                    J         Single-family home
                                                                                  CI Duplex or multi-unit building
                                                                                                                                        Do hm deduc‘ secured claims or exempuons. Pm
                                                                                                                                        the amount of any secured claims on Schedule D:
                                                                                                                                        Creditors Who Have Claims Secured by Pmperry.
                Sl'reet address.
                    if available,?r other                description
                                                                                  D     Condominium or cooperative                      Current value of the                           Current value of the
                                                                                  D     Manufactured or mobile home                     entire ropert ?                                portlon you own?
                                                 _
                                                                                  Cl Land                                               $   ‘2 £5 (ﬁt)                                 55




                Dmv /
                                                                                                                                                    1
                                                                                  D     Investment property
                                 2              PA        ‘15‘7                   D     Timeshare                                       Describe the nature of your ownershlp
                CKy                              State        ZIP Code                                                                  Interest (such as fee simple, tenancy by
                                                                                  El    Other                                           the entireties. or a life estate), if known.
                                                                              Who has an interest in the property? Check one.                          ,«n.
                                                                                                                                                   NM.»—
                  LCM 66%er                                                            Debtor1 only
                                                                                                                                                        '3“ v                    ”3'            ”n3
                                                                                                                                                                                                7;”;
                County                                                            D    Debtor 2 only                                                                             33

                                                                                  C] Debtor        1   and Debtor 2 only                D   Check Ift 5 Is cmmunﬁy property
                                                                                                                                            (see instructions); ~72:
                                                                                  El   At least one of the debtors and another
                                                                                  Other information you wish to add about this item, such as local
                                                                                                                                                                 .



                                                                                                                                                                         T
                                                                                                                                                                             ;              M
                                                                                  property identiﬁcation number:                                             "5:1‘                          (43
                                                                                                                                                                             f
     If you own or havi‘a more than one, list here:
                                                                             What is the property? Check all that apply.                Do not deduct secur  claimsm‘examdﬂoﬁk; Put
                                                                             D         Single-family home                               the amount of any 5   ed claims on Sbhadble D:
      12‘                                                                                                                               Creditors Who Have§¢lalms Secured by Property.
                Street address, if available, or other description
                                                                             D         Duplex or multI-unit building
                                                                                                                                                           742       y
                                                                                                                                                                                            ,


                                                                             D         Condominium or cooperative                       Current value ofth’e                           Current value of the
                                                                             CI Manufactured or mobile home                             entire property?                               pomon you own?
                                                                             D         Land                                             $                                              55


                                                                             D         Investment property
                                                                                                                                        Describe the nature of your ownershlp
                City                             State        ZIP Code
                                                                             D         Tvmeshare
                                                                                                                                        interest (such as fee simple, tenancy by
                                                                             D         Other                                            the entireties, or a life estate), if known.
                                                                             Who has an Interest In the property? Check          one.

                                                                             D      Debtor1 only

                County                                                       C] Debtor 2 only
                                                                             C] Debtor         1   and Debtor2 only                     D   Check If thls Is communlty property
                                                                             CI At leasi one of the debtors and another                     (see instructions)

                                                                             Other informatlon you wish to add about this Item, such as local
                                                                             property identification number:


Ofﬁcial Form 1OGA/B                                                           Schedule AIB: Property                                                                                                   page   1
             Case 22-13471-pmm                               Doc 13          Filed 01/13/23 Entered 01/13/23 15:04:00                                               Desc Main
                                                                            Document     Page 2 of 30
 Debtor      1           ﬁrm
                         Flrsl Name
                                             6:09?
                                       MOddle Name
                                                                Mama
                                                               Last N ame
                                                                                                                         WW 2? 1347/
                                                                            What is the property? Check          all that apply.          Do not deduct secured claims or exemptions. Put
                                                                            D   Single-family home                                        the amount of any secured claims on Schedule D:
       1.3.                                                                                                                               Creditors Who Have Claims Secured by Property.
                 Street address, If available, or other descriptlon         D   Duplex or multi-unit building
                                                                            D   Condominium or cooperaﬁve                                 Current value of the       Current value of the   ‘




                                                                                                                                          entire property?           portion you own?
                                                                            D   Manufactured or mobile home
                                                                            Cl Land                                                       55                         $

                                                                            D   Investment property
                 City                            State       ZIP Code       D   Timeshare                                                 Describe the nature of your ownership
                                                                                                                                          Interest (such as fee simple, tenancy by
                                                                            D   Other                                                     the entireties, or a life estate), if known.
                                                                            Who has an interest in the property? Check             one.

                                                                            D   Debtor   1   onty
                 County
                                                                            D   Debtor 2 only
                                                                            CI Debtor    1   and Debtor 2 only                            El Check if this is community property
                                                                            D At least one of the debtors and another                          (see instructions)

                                                                            Other information you wish to add about this item, such as local
                                                                            property Identiﬁcation number:


2.   Add the dollar value of the portion you own for all of your entries from Part 1, Including any entries for pages                                                $246,000
     you have attached for Part 1. Write that number here. ......................................... . ............................................          9



m                  Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehlcles, motorcycles
     DNo
             Yes


      3.1.       Maker

                 Model:
                               VD‘WW                                        Who has an Interest in the property? Check one.
                                                                            dDebtor      1   only
                                                                                                                                          Do no‘ deduct secured clalms or exemptions. Put
                                                                                                                                          the amount of any secured ciaims on Schedule D:
                                                                                                                                          Creditors Who Have Claims Secumd by Property.
                                                                            CI Debtor 2 only
                 Year:                        10x32                         D   Debtor   1   and Debtor 2 only                            Current value of the       Current value of the
                 Approximate mileage:                                                                                                     entire property?           portion you own?
                                                                            El At least one of the debtors and another
                 Other information:
                                                                            El Check if this Is community property (see
                                                                                                                                          My“)                       5

                                                                                ins‘rucﬁons)



     If you own or have more than one, describe here:

                 Make:                                                      Who has an interest In the property? Check one,               Do not deduct secured claims or exemptions. Put
     3,2~
                                                                                                                                          the amount of any secured claims on Schedule D:
                 Model:                                                     D   Debtor   1   only                                         Creditors Who Have Claims Secured by Property.
                                                                            C] Debtor 2 only
                 Year:                                                                                                                    Current value of the       Current value of the
                                                                            D   Debtor   1   and Debtor 2 only
                                                                                                                                          entire property?
                 Approximate mileage:                    \                                                                                                           portion you own?
                                                                            El At least one of the debtors and another
                 Other information:
                                                                            D Check if this         is community property (see
                                                                                Instructions)




Ofﬁcial Form 106A/B                                                         Schedule A/B: Property                                                                          page 2
 Debtor1              W
             Case 22-13471-pmm

                      ﬂ,
                      Fi'S‘ Name        Middle Name
                                                      §CC>+E
                                                              Doc 13


                                                                   Last Name
                                                                                Filed 01/13/23 Entered 01/13/23 15:04:00
                                                                               Document
                                                                                  MAM
                                                                                            Page 3 of 30
                                                                                                                                  Case number      (ifknawn)      7742
                                                                                                                                                                             C
                                                                                                                                                                                     ‘
                                                                                                                                                                                         Desc Main

                                                                                                                                                                                         5 l1 t


                  Make:                                                        Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
      33.
                                                                                                                                                          the amount of any secured claims on Schedule D:
                  Model:
                                                                                D   Debtor1 only                                                          Creditors Who Have Claims Secured by Property
                                                                                CI Debtor 2 on|y
               Year:                                                                                                                                      Current value of the                Current value of the
                                                                                E] Debtor     1   and Debtor 2 only                                                                                                   _




                                                                                                                                                          entire property?                    portion you own?
               Approximate mileage:                                             C! At least one of the debtors and another
               Other information:
                                                                                [I Check if this is community property (see
                                                                                    instructions)


               Make:                                                            Who has an interest in the property? Check                     one.       Do not deduct secured claims or exemptions. Put
      34,
                                                                                                                                                          the amount of any secured claims on Schedule D:
                  Model:                                                        CI Debtor     1   only                                                    Creditors Who Have Claims Secured by Property.
                                                                                C] Debtor 2 only
               Year:                                                                                                                                      Current value of the                Current value of the
                                                                                C! Debtor     1   and Debtor 2 only
                                                                                                                                                          entire property?                    portion you own?
               Approximate mileage:                                             D   At least one of the debtors and another
               Other information:
                                                                                0 Check if this is community property (see
                                                                                    instructions)




4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, traiiers, motors, persona) watercraft, ﬁshing vessels, snowmobiles. motorcycle accessories
     0       No
     D       Yes


                  Make:                                                        Who has an interest in the property? Check                      one.       Do not deduct secured claims or exempﬂons. Put
      4.1.
                                                                                                                                                          the amount of any secured claims on Schedule D:
                  Model:
                                                                                El Debtor     1   only                                                    Creditors Who Have Claims Secured by Property.
                                                                                C] Debtor 2 only
               Year:
                                                                                C] Debtor     1   and Debtor 2 only                                       Current value of the                Current value of the
               Other information:                                               C] At least one of the debtors and another                                entire property?                    portion you own?
               x




                                                                                E] Check if this is community property (see
                                                                                   instructions)



     If you own or have more than one, list here:

               Make:                                                           Who has an Interest in the property? Check one.                            Do not deduct secured claims or exemptions, Put
     4.2.
                                                                                                                                                          the amount of any secured ciaims on Schedule D:
               Model:
                                                                                [I Debtor     1   only                                                    Creditors Who Have Claims Secured by Property.
                                                                                D   Debtor 2 only
               Year:                                                                                                                                      Current value of the                Current value of the
                                                                                1:! Debtor    1   and Debtor 2 only
                                                                                                                                                          entire property?                    portion you own?
               Other information:                                               C] At least one of the debtors and another


                                                                                D Check if this is community property (see
                                                                                    instructions)




                                                                                                                                                                                                      A       -r'jb
5.   Add the doIIar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                                 4

                                                                                                                                                                                               2661
                                                                                                                                                                                                              W
     you have attached for Part 2. Write that number here ........................................................................................................................   9    $               é




 Ofﬁcial Form 106MB                                                              Schedule AIB: Property                                                                                              page 3
            Case 22-13471-pmm                                       Doc 13              Filed 01/13/23 Entered 01/13/23 15:04:00                                                                     Desc Main
                                                                                       Document     Page 4 of 30
                       gm                    Mldd‘e Name
                                                           Sam           Las! Name
                                                                                          Mm                                                                                         22—1347!

m                 Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured cialms
                                                                                                                                                                                                   or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances. furniture, linens, china, kitchenware


           Yes. Describe .........


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras. media players, games


      gs;          Describe ..........
                                            TV C6“     i                  @0002,

8.    Collectibles of value
      Examples: Antiques and ﬁgurines; paintings, prints, or other artwork; books. pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

      aD   No
           Yes. Describe ..........          RM‘SVCS‘
9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                and kayaks; carpentry tools; musical instruments
      “a No
      D    Yes. Describe ..........


10.   Firearms
      Ex mp/es: Pistols, riﬂes, shotguns, ammunition, and rela‘ed equipment
            No
      CI Yes. Describe ..........

11.C|othes
      Examples: Everyday clothes, furs, leather coats, deslgner wear, shoes, accessories
      D     No                                                                                         A

      E Yes. Descrlbe .......... bl if“
                                        $4 OWL)
12.Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
            No
      % Yes. Describe ..........             WWMJ (i W                         U
13.   Non-farm animals
      Examples: Dogs, cats, birds, horses

      DNo
           Yes. Describe ..........
                                              M;                   (L        COAS
14,Any other personal and household Items you did not already list, Including any health aids you dld not list

      iNo
      D    Yes. Give speciﬁc
           Information. .............

15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3.     e
                      rte
                      that number here ....................................................................................................................................................   ')

 Ofﬁcial Form 106A/B                                                                     Schedule AIB: Property                                                                                                  page 4
           Case 22-13471-pmm                                                Doc 13                 Filed 01/13/23 Entered 01/13/23 15:04:00                                                                                      Desc Main
                                                                                                  Document     Page 5 of 30
                        Bﬁm
                        Flat Name                Middle Name
                                                              ﬁco++               Last Name
                                                                                                Mai/4m                                                            Wm                               22 ~ ’3471

M                 Describe Your Flnanclal Assets

Do you own or have any legal or equitable interest in any                                                  of the following?                                                                                     Current value 0f the
                                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                                 Do not deduct secured clalms
                                                                                                                                                                                                                 or exemptions.


16.   Cash
      Examples: Money you have in your wallet. in your home, in a safe deposit box, and on hand when you ﬁle your petition

      “No
      D    YES ................................................................................................................................................................    Cash: .....................    $                  1    E




17.   Deposits of money
      Examples: Checking. savings, or other ﬁnancial accounts; certiﬁcates of deposit; shares in credit unions, brokerage houses,
                and other similar institutions. If you have multiple accounts with the same institution, list each.

      DNo
           Yes .....................                                                                  Institution name:


                                                  17.1.   Checking account:                      ('761 ((4661 $
                                                  17.2.   Checking account:                      €MZMbWS [61 WCL‘                                                                 CYQAH'        ONO“
                                                  17.3.   Savings account:

                                                  17.4.   Savings account:
                                                                                                                                                                                                                  mmmmmeeeeeem




                                                  17.5,   Certiﬁcates of deposit:

                                                  17.6.   Other ﬁnancial account:

                                                  17.7.   Other ﬁnancial account:

                                                  17.8.   Other ﬁnancial account:

                                                  17.9.   Other ﬁnancial account:




18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage ﬁrms. money market accounts


           Yes .................                  lnstitutian or issuer name:




19.



      i
      Non-publicly traded stock and interests In Incorporated and unincorporated businesses, Including an Interest in
      an LLC, partnership, and jolnt venture


      [3
           No
           Yes. Give speciﬁc
           information about
                                                  Name of entity:                                                                                                                  % of ownership:
                                                                                                                                                                                    0%
                                                                                                                                                                                    0 0A)
                                                                                                                                                                                                    %

           them .........................                                                                                                                                                           %

                                                                                                                                                                                    0%              %




Ofﬁcial Form 106A/B                                                                                  Schedule AIB: Property                                                                                                              page 5
                  Case 22-13471-pmm                                        Doc 13          Filed 01/13/23 Entered 01/13/23 15:04:00                   Desc Main

         Debtor    1
                            W     (Name
                                                   f


                                                                .
                                                       Mbddle Name
                                                                       M      Last Name
                                                                                          Documentx
                                                                                               M/V‘ n
                                                                                                       Page 6 of 30
                                                                                                                      Case number   (Ilknawn)   ZZ   » ‘
                                                                                                                                                           ‘




                                                                                                                                                               347 l
                                                                                                                                                                     u




        20.   Government and corporate bonds and other negotiabie and non-negotiable Instruments
              Negotiable instruments include personal checks, cashlers' checks, promissory notes. and money orders.
              Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

              ﬂNo
              CI Yes. Give speciﬁc                     Issuer name:
                  information about
                  them .......................                                                                                                        $




    ‘




        21.   Retlrement or pension accounts
              Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or proﬁt-sharing plans

                  “°
              2   Yes. Llst each
                  accountseparately.                   Type ofaccount:           lnstituZCname:
                                                                                                               (i O
                                                       401(k)orslmllarplan:                 %7       k
                                                                                                         l 0
                                                       Pension plan:

                                                       lRA:

                                                       Retirement account:

                                                       Keogh:

                                                       Additional account:

                                                       Additional account:




        22.   Security deposits and prepayments
              Your share of all unused deposits you have made so that you may continue service or use from       a company
              Examples: Agreements with landlords. prepaid rent, publlc utillties (electrlc, gas, water), telecommunlcatlons
              companies, or others



                                                                             Institution name or individual:

                                                       Electric:

                                                       Gas:

                                                       Heating 0]]:

                                                       Security deposit on rental unit:

                                                       Prepaid rent:

                                                       Telephone:

                                                       Water:

                                                       Rented furniture:

                                                       Other.



‘




        23.Annuities (A contract for a periodic payment of money to you. either for life or for a number of years)
          “d. No
              D   Yes ..........................       Issuer name and description:




        Ofﬁcial Form 106MB                                                                Schedule AIB: Property                                                  page 6
              Case 22-13471-pmm                                   Doc 13             Filed 01/13/23 Entered 01/13/23 15:04:00                                           Desc Main
                                                                                    Document     Page 7 of 30
                          5mm 5qu                                      Wm                                                                            ”2.2       »       34' 7/
                          Firs! Name            Msddle Name            Last Name




-
    24.   Interests in an education IRA, in an account in                     a    qualiﬁed ABLE program, or under   a   qualified state tuition program.
          26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
              No
          D   Yes ....................................   Institution name and description. Separately ﬁle the records of any interests.11 U.S.C. § 521(c):




    25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
          END
          D Yes.    Give speciﬁc
              information about them...E                                                                                                                                $


    26.   Patents, copyrights, trademarks, trade secrets, and other Intellectual property
          Examples: Internet domain names, websites, proceeds from royalties and "censing agreements
              No
          C] Yes. Give speciﬁc                                                                                                                                      3




             information about them.,..                                                                                                                                 $


    27.   Licenses, franchises, and other general intangibles
          Examples: Building permits, exclusive licenses, cooperative association holdings. liquor licenses, professional licenses

          iNo
          Cl Yes. Give speciﬁc
              information about them".                                                                                                                                  33




    Money or property owed to you?                                                                                                                                      Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.

    28.Tax refunds owed to you
              No
          D   Yes. Give specific information
                                                                                                                                          Federal:
                   about them, including whether                   ,

                   you already ﬁled the returns                    f
                                                                                                                                         State:
                                                                   "
                   and the tax years. ..................
                                                                                                                                          Local:



    29.   Family support
          Examples: Past due or iump sum alimony, spousal support, child support. maintenance, divorce setﬂement, property settlement
          ﬁNo
          D   Yes. Give specific information .........
                                                                                                                                    z




                                                                                                                                    E    Alimony:                       $
                                                                                                                                    é;
                                                                                                                                         Maintenance:                   $
                                                                                                                                         Support:                       $

                                                                                                                                    é
                                                                                                                                         Divorce settlement:            $

                                                                                                                                         Property settlement:           35
                                                                                                                                    é




    30.   Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay. workers' compensation.
                    Social Security beneﬁts; unpaid loans you made to someone else
          {No
          CI Yes. Give speciﬁc information ...............
                                                                                                                                                                    §

                                                                                                                                                                        5




    Ofﬁcial Form 106A/B                                                              Schedule A/B: Property                                                                       page 7
           Case 22-13471-pmm                                        Doc 13              Filed 01/13/23 Entered 01/13/23 15:04:00                                                                                Desc Main
                                                                                       Document     Page 8 of 30
                      Vaan
                       FIrsI Name            Mlddb Name
                                                                6%        Last Name
                                                                                            Mn                                                                                      12/              \EW
31.   Interests ln insurance pollcles
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's Insurance
      DNO
      "E{Yes. Name the insurance company                                 Company name:                                                              Beneﬁciary;                                                 Surrender or refund value:
              ofeachpolicYandlistitsvalue....
                                                                            H         £2,      FWM’ Life]                                                                                                       $   200. 000
                                                                                                                                                                                                                $

                                                                                                                                                                                                                $

32.   Any interest in property that is due you from someone who has died
      If you are the beneﬁciary of a living trust. expect proceeds from a life insurance pollcy, or are currently entitled to receive




                    l
      pr party because someone has died.
            No
      D     Yes.    ee speciﬁc information ..............

33.   Claims against third parties. whether or not you have filed a lawsuit or made                                                 a   demand for payment
      Examples: Accldents, employment dlsputes, Insurance claims, or rights to sue
            No
      El Yes. Describe each claim. ...............

34‘Other contingent and unllquidated claims of every nature, Including counterclaims of the debtor and rights
   to set off claims
            No
      D     Yes. Describe each claim. ....................




35g ﬁnanciai assets you did not already list
            No                                                                                                                                                                                              .




      CI Yes. Give speclﬁc Information ............
                                                                                                                                                                                                                $



      Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached
36.
      for Part 4. Write that number here ....................................................................................................................................................   -)              s     O4 7 44. »




m
37.
                    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

      Do you own or have any legal or equitable Interest In any business-related property?
            No. Go to Part 6.
      D    Yes. Go to line 38.
                                                                                                                                                                                                            Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims




      i
                                                                                                                                                                                                            or exemptions.

38.Accounts receivable or commissions you already earned
            No
      D    Yes. Describe .......                                                                                                                                                                     g


                                                                                                                                                                                                     '35
                                                                                                                                                                                                      I




39.   Ofﬁce equipment. furnishings, and supplies
      Examples: Business—related computers. software, modems, printers, copiers, fax machines, rugs, teIephones. desks, chairs, electronic devices

           No
      Cl Yes. Describe .......                                                                                                                                                                       63""




 Ofﬁcial Form 1OGA/B                                                                      Schedule AIB: Property                                                                                                            page 8
                        Case 22-13471-pmm                                       Doc 13              Filed 01/13/23 Entered 01/13/23 15:04:00                                                                                        Desc Main
                                                                                                   Document     Page 9 of 30
                                    @mndm
                                    First Name           Middle Name
                                                                          6%          Last Name
                                                                                                       Wm                                                                                      12 ' 13471
        40.       Machinery, ﬁxtures, equlpment, supplies you use in business, and tools of your trade

                  ﬁNo
                   D    Yes. Describe .......                                                                                                                                                                  -gw;




        41    .   Inventory
    ’
                        No
                  D     Yes. Describe .......



        42.!nterests In partnershlps orjoint ventures
                  E’No
                  D     Yes. Describe .......          Name of entity:                                                                                                              % of ownership:

                                                                                                                                                                                                 %

                                                                                                                                                                                                 ”/0

                                                                                                                                                                                                 °/n




        43.Customer lists, mailing lists, or other compilations
                        No
                  D     Yes. Do your llsts Include personally Identiﬁable Information (as deﬁned in                                              11   U.S.C. § 101(41A))?
                                DNO
                                D     Yes. Describe. .......



:
        44‘An            business-related property you did not already list
                        No
                  Cl Yes. Give speciﬁc
                        information .........



                                                                                                                                                                                                                      6969$€9€B€9




        45.       Add the dollar value of all of your entries from Part 5, Including any entries for pages you have attached
                  for Part 5. Write that number here .................................................................................................................................................... -)



                                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                If you own or have an Interest In farmland, list it in Part 1.

        46. Do         you own or have any legal or equitable interest in any farm- or commercial ﬁshing-related property?
                     No. Go to Part 7.
                  CI Yes. Go to line 47.

                                                                                                                                                                                                                      Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                      or exemptions.
        47.       Farm animals
                  Examples: Livestock, poultry. farm-raised ﬁsh
                  DNo
                       Yes .........................
                                                       MC?“     04%

        Ofﬁcial Form 1OGA/B                                                                          Schedule AIB: Property
                Case 22-13471-pmm                                         Doc 13                 Filed 01/13/23 Entered 01/13/23 15:04:00                                                                                         Desc Main
                                                                                               Document      Page 10 of 30
     Debtor1                 ‘
                                     ’                              I                      ‘




                                                                                                         ‘h H                                                      Case number           (Nknown)
                                                                                                                                                                                                               2'2             ’ ’34 7/
                                 t       ama         Midtham                    LastNa e




    48.   Crops—elther growing or harvested
          'E/N 0
          CI Yes. Give speciﬁc
             information. ............                                                                                                                                                                                            $

    49.    Farm and ﬁshing equipment, Implements, machlnery, ﬁxtures, and tools of trade
          ‘
                No
          D    Yes ..........................



    50.   Farm and ﬁshlng supplies, chemicals, and feed                                                                                                                                                                                                        '




      are
          Baas ..........................
                                                :0“!me
                                                I


                                                i
                                                1



                                                1
                                                                              W                                                                                                                                       R
                                                                                                                                                                                                                                  $
                                                                                                                                                                                                                                           40‘00
    51.Any farm- and commercial flshlng-related property you did not already Ilst
          “E No
          D    Yes. Give speciﬁc                :1




               information .............        ,
                                                                                                                                                                                                                                  $


    52.   Add the dollar value of all of your entries from Part 6, Including any entries for pages you have attached                                                                                                                                 CX)
          for Part 6. Write that number here ....................................................................................................................................................                         9      $    :2   “£2.


                        Describe All Property You Own or Have an Interest in That You Did Not Llst Above

    53.   Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership
          lgNo
          D    Yes. Give speciﬁc
               information. ............




    54.Add the dollar value of all of your entrles from Part 7. Write that number here .................................................................                                                                  -)          $_O____

                        List the Totals of Each Part of this Form

    55.Part1:Total real estate, Ilnez                      ..............................................................................................................................................................   9    $
                                                                                                                                                                                                                                     i4£g
                                                                                                                                                                                                                                     —.—'——
    56.   Part 2: Total vehlcles, line 5                                                                                       $      l       i   |
                                                                                                                                                              00
    57.   Part 3: Total personal and household Items, line 15                                                                  $


    58.   Part 4: Total ﬁnancial assets, line 36                                                                               $    20                    .



    59.   Part 5: Total business-related property, line 45                                                                     35                 O
    60.   Part 6: Total farm- and ﬂshlng-related property, line 52                                                             $          g       '6;
    61.   Part 7: Total other property not listed, line 54                                                                    +$                  0                                                                                                        ‘




    62.Tota| personal property. Add lines 56 through 61. ....................                                                  $
                                                                                                                                    43    H                            Copy personal property total                         -)   +$    2        2%         4'
                                                                                                                                    7 U ‘ ‘6‘
                                                                                                                                                                                                                                            g


                                                                                                                               n
                                                                                                                          1



                                                                                                                          3




                                                                                                                               L                      i
                                                                                                                                                                                                    6H.%
‘




    63.Total of all property on Schedule NB.                              Add line 55 + line 62 ...........................................................................
                                                                                                                                                                                                                  5




     Ofﬁcial Form 106MB                                                                            Schedule AJB: Property                                                                                                                       page 10
       Case 22-13471-pmm                                      Doc 13                 Filed 01/13/23 Entered 01/13/23 15:04:00                                       Desc Main




 Debtor1

 Debtor 2
                  W
 Fill in this information to identify your case:


                      Ira N




 (Spouse, If ﬁling) Flrsl Name




 Case number
                              e




                          ”2] '
 United States Bankruptcy Court for the:


                                                1   31‘ 1
                                                              dle'Nama



                                                           Middle Name




                                                                I
                                                                                   Document




                                                                         District of
                                                                                             W tn
                                                                                                 Page 11 of 30



                                                                                             Last Name



                                                                                             Last Name
                                                                                                          t




                                                                                                                                                                    D   Check if this is an
  (If known)
                                                                                                                                                                        amended ﬁling



Official Form 1060
Schedule C: The Property You Claim as Exempt                                                                                                                                        04/22

Be as complete and accurate as possible. If two married people are ﬁling together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Ofﬁcial Form 106A/B) as your source, list the propeny that you claim as exempt. If more
space is needed. ﬁll out and attach to this page as many copies of Pan‘ 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
speciﬁc dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain beneﬁts, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


m1.
                Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is ﬁling with you,
      C! You     are claiming state and federal nonbankruptcy exemptlons.                                11   U.S.C. § 522(b)(3)
      CI You are claiming federal exemptions.                       11   U.S.C. § 522(b)(2)



 2. For any      property you list on Schedule A/B that you clalm as exempt, ﬁll In the Information below.

       Brief description of the property and line on                          Current value of the             Amount of the exemption you claim         Speciﬁc laws that allow exemption
       Schedule A/B that lists thls property                                  portion you own
                                                                              Copy the value from              Check only one box for each exemption.


      Brlef
      description;
      Line from
      Schedule A/B:
                              mm  ,




                                      é
                                                                              Schedule A/B


                                                                               $    m,
                                                                                    S ‘ 60 0
                                                                                                                CI$
                                                                                                                %0% of fair market value. up to
                                                                                                                     any applicable statutory limit



      Sg'segﬁpﬁon.            MW                                               $     30a                        :1   $
                                                                                                                m00% of fair market value,       up to
      Line from
      Schedule A/B:


      Séigription'
      Line from
      Schedule A/B:
                              L:
                              _LI___
                                      Z


                                                     \‘~
                                                                               $    5;   6                      D$
                                                                                                                     any applicable statutory limit




                                                                                                                Mom of fair market value, up to
                                                                                                                     any applicable statutory iimit


 3.   Are you claiming                a   homestead exemptlon of more than $189,050?
      (Subject to adjustment on 4/01/25 and every                        3   years after that for cases ﬁled on or after the date of adjustment.)
      .g   No
      El Yes. Did you acquire the property covered by the exemption within 1,215 days before you ﬁled this case?
           K     No
           El    Yes



Ofﬁcial Form 1060                                                             Schedule C: The Property You Claim as Exempt                                                   page   1   of_
     Case 22-13471-pmm                     Doc 13            Filed 01/13/23 Entered 01/13/23 15:04:00                            Desc Main
                                                           Document      Page 12 of 30
                 W43“
             Firerame       Mbddle Name
                                          <CéHLast Name
                                                               Mn                            Case number   (Nknawn)   rJ/Z        l   5 7(
                                                                                                                                        iv




E           Additional Page




                        m
     Brief descrlptlon of the property and line       Current value of the   Amount of the exemptlon you claim        Speclﬂc laws that allow exemption
     on Schedule A/B that lists thls property         portlon you own
                                                      Copy the value from    Check only one box for each exemption
                                                      Schedule A/B




                        l
    description:
    Line from
    Schedule A/B:
    Brief
    description:
    Line from
    Schedule A/B:

    Brief
    description:
                        L“
                        r


                        —
                        3
                        I
                                                          56   2:


                                                          $___2}&9c'9
                                                                             CI$
                                                                             a 100% of fair market value, up to

                                                                             Cl$
                                                                                  any applicable statutory limit



                                                                             WC% of fair market value, up to


                                                                             D$
                                                                                  any appllcable statutory limit




                                                                             D
    Line from
    Schedule A/B:
                        —'                                                        100% of fair market value, up to
                                                                                  any applicable statutory limit


    Brief
    description:                                                             C!   3:


    Line from
                                                                             D    100% of fair market value, up to
    Schedule A/B:                                                                 any applicable statutory limlt

    Brief
    description:                                                             CI$
                                                                             D
    Line from
    Schedule A/B:       —                                                         100% of fair market value, up to
                                                                                  any applicable statutory limit


    Brief
    description:                                                             E]   $

    Line from
    Schedule A/B:
                        —                                                    D    100% of fair market value, up to
                                                                                  any applicable statutory limit


    Brlef
    descriptlon:                                                             El $
     Line from
                                                                             El 100% offair market value. up to
     Schedule A/B:                                                                any applicable statutory limit

    Brief
    description:                                                             El   $

     Line from
                                                                             D    100% of fair market value, up to
     Schedule A/B:      ——                                                        any applicable statutory limit


    Brief
    description:                                                             D$
     Line from
                                                                             D    100% of fair market value. up to
     Schedule A/B:
                        " '—                                                      any applicable statutory limit


    Brief
    description:                                                             C]   85



     Line from
                                                                             D    100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

    Brief
    description:                                                             CI $

     Line from
                                                                             El 100% of fair market value, up to
     Schedule A/B:      —-—                                                       any applicable statutory limit


    Brief
    descn‘ption:                                                             C|$
     Line from
                                                                             D    100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit



Ofﬁcial Form 1060                                    Schedule C: The Property You Claim as Exempt                                      page   2.. of _
                       Case 22-13471-pmm                            Doc 13             Filed 01/13/23 Entered 01/13/23 15:04:00                                                 Desc Main
                                                                                     Document      Page 13 of 30

     Fill in this information to identify your case:

     Debtor            1        Brandm
                                Mt   Name
                                                              5C0d+
                                                               Mbddle Name
                                                                                           NIH/ﬂ n
                                                                                                 Last Name

     Debtor 2
     (Spouse, If ﬁling) Hm Name                                Middls Name


     United States Bankruptcy Court for the:                                 Dlstrict of

     Case number
         (If known)
                                            7,1; [347!                                                                                                                          CI Check if this is an
                                                                                                                                                                                   amended ﬁling


     Ofﬁcial Form 106D
     Schedule D: Creditors Who                                                             Have Claims Secured by Property                                                                                 12/15

     Be as complete and accurate as possible. If two married people are ﬁling together, both are equally responsible for supplying correct
     information. If more space is needed, copy the Additional Page, fill it out. number the entries, and attach it to this form. On the top of any
     additional pages, write your name and case number (if known).

    1.      Do any creditors have claims secured by your property?
            CI No. Check this box and submlt this form to the court with your other schedules. You have nothing else to report on this form.
                       Yes. Fill in all of me informaﬁon below.


    m
    2.
                           List All Secured Claims

           List all secured clalms. If a creditor has more than one secured claim, llst the creditor separately
                                                                                                                                       ColumnA'
                                                                                                                                       Amount of Claim
                                                                                                                                                         '

                                                                                                                                                                 _




                                                                                                                                                                 ,
                                                                                                                                                                         Column B
                                                                                                                                                                         Value ofcoltateral
                                                                                                                                                                                              '



                                                                                                                                                                                              ‘
                                                                                                                                                                                                      Comma c
                                                                                                                                                                                                      Unsecured
                                                                                                                                                                                                                   ‘




           for each claim. If more than one creditor has a particular claim. list the other creditors in Part 2.                       D0 notdeductthe
                                                                                                                                                                 ,

                                                                                                                                                                         thaf “PW“! this              ”mo"
            As much as possible, list the claims in alphabetical order according to the creditor‘s name.                               value of oollatéral.              dam                          ‘lf‘any


‘
    Z] ﬁ‘dawwf                                                           Describe the property that secures the claim:                 $    i       i                    $                        $
                  edﬁor's Naméﬁ                                                             .
                 300
                Number
                            mmgﬂglm
                                  Street
                                                                                VUchL                         Cour
                                                                        As of the date you file, the claim ls: Check all that apply.
            M i: f          L!              All 35 Z oq                  Cl Contingent
                                                                               Unllquidated
                City                            State   ZIP Code         C] Disputed
         Who owes the debt? Check one.                                   Nature of lien. Check all that apply.
                  DEthI’    1   WW                                             An agreement you made (such as mortgage or secured
         El Debtor 2 only                                                      car loan)
         El Debtor 1 and Debtor 2 only                                   D     Statutory lien (such as tax lien, mechanic‘s lien)
         D        At least one of the debtors and another                D     Judgment Ilen from 3 ‘awsult
                                                                         El Other (Including       a right to offseQ
         D   Check If this claim relates to a
            community debt
         Date debt was incurred                                          Last 4 digits of account            number_   _ _ __              ’4   J   a,       N\
                                                                                                                                                             W
                                                                                                                                                             .

    $2leZ                       Mariam 6mm
                                                                                 _

                                                                         Describe the property that secures the claim:                 3                                 $                        $



                                                                                     K’XOJSZl‘Nwr/kgogtw
                                                                        As of the date you file, the claim ls: Check all that apply.
           5UHL [00
          3};an                             (A
                                             ‘
                                               92710
                                                 CO“
                                                State   2”“
                                                                        5% 3:323:12;
                                                                         C] Disputed
         Who owes the debt? Check one.                                   Nature of lien. Check all that apply.
                  Debtor1 only                                                 An agreement you made (such as mongage or secured
                  Debtor 2 only                                                car loan)
         Emmi
                  Debtor    1   and Debtor 2 only                        D     Statutory lien (such as tax lien. mechanic's Ilen)
                  At least one of the debtors and another                D     Judgment    Hen   from a lawsuit
                                                                         D     Other (including a right to offset)
         [3 Check If this clalm relates to a
                  community debt
         Dam debt was incurred                                           Last 4 digits of account number                                   Axxn         mb
                                                                                                                                                        W
                Add the dollar value of your entries In Column A on this page. Write that number here:                                 {(4%                          |


    Ofﬁcial Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                                             page        1   of
             Case 22-13471-pmm                            Doc 13             Filed 01/13/23 Entered 01/13/23 15:04:00                                                      Desc Main
                                                                           Document      Page 14 of 30

Debtor   1                                                                                                            Case number       (Nknown)
                      Flrsl Name      Mmme Name            Last Name


                                                                                                                                                       '                 ' *
                                                                                                                                    Colun'mA                   column B                Goiunjn C
                Additional Page                                                                                                                7
                                                                                                                                                   ,
                                                                                                                                                                                                        ,



                                                                                                                                    Amount'of chlm:        ,   "Wine pf céjlateral_ ' "Unseéqr'eq
               After listing any entries on this page, number them beglnnlng wlth 2.3, followed                                     ‘Do not deduct the         mat anppoftsthis 'porﬂgm
                                                                                                                                                                                                    ,



               by 2.4, and so forth.                                                                                                value of collateral.       clalm   ,                If any

                                                           Describe the property that secures the clalm:                        $                               $                   $
     Creditor’s Name                                                   _




     Number             Street


                                                           As of the date you ﬁle, the claim Is: Check a“ mat apply.
                                                           El Contingent
     City                             State    ZIP Code    CI Unllquldated
                                                           El Disputed
 Who owes the debt? Check one.                             Nature of lien. Check all that apply.
 D       Debtor   1   OUIY                                 D  An agreement you made (such as mortgage or secured
 D       Debtor 2 only                                        car loan)
 El Debtor        1   and Debtor 2 only                    C] Statutory lien (such as tax lien. mechanic's lien)
 D     At least one of the debtors and another             D    JUdgment "a" from a 'aWSUit
                                                           D    Other (including a right to offset)
 El Check If thls clalm relates to a
    communlty debt

 Date debt was incurred                                    Last 4 dlglts of account number                  _ __ __ __
                                                           Describe the property that secures the clalm:                        $                               $                   $
     Creditor's Name


     Number             Street                                                                                                  1
                                                           As of the date you file, the clalm is: Check all that apply.
                                                           D    Contingent
                                                           D    Unliquidated
     City                             State    ZIP Code                                                                                                                                                     5'




                                                           CI Disputed
 Who owes the debt? Cheek one‘
                                                           Nature of lien. Check all that apply.
 D       Debtor   1   only
                                                           D  An agreement you made (such as mortgage or secured
 D       Debtor 2 only                                        car loan)
 D       Debtor   1   and Debtor 2 only                    C] Sta‘utory lien (such as tax lien, mechanic's lien)
 D     At least one of the debtors and another             D    Judgment lien from a lawsuit
                                                                                     ‘
                                                           CI O‘her ( l ncludmg a nght to “he ‘ )
 D     Check if this clalm relates to a
       community debt

 Date debt was incurred                                    Last 4 digits of account number                  _ _        ____


 J                                                         Describe the property that secures the claim:                            $                           $                   $
     Creditor's Name


     Number             Street


                                                           As of the date you ﬁle. the claim is: Check all that apply‘
                                                           D    Contingent
     City                             State    ZIP Code    CI Uniiquidated
                                                           Cl Disputed
 Who owes the debt? Check one.                             Nature of lien. Check         an   that apply.
 D     Debtor1 00W                                         D    An agreement you made (such as mongage or secured
 D     Debtor 2 only                                            car loan)
 a     Debtor     1   and Debtor 2 only                    CI Statutory Ilen (such as tax lien. mechanlc's lien)
 CI At least one of the debtors and another                D    Judgment Hen from        a    lawsuit
                                                           D    Other (including a right to oﬁset)
 0     Check If this clalm relates to a
       community debt
 Date debt was incurred                                    Last 4 digits of account number                  _ __
             Add the dollar value of your entries In Column A on this page.                        e
                                                                                                   rte      that number here:
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that. number here:
Ofﬁcial Form 106D                             Additlonal Page of Schedule D: Creditors Who Have Clalms Secured by Property                                                   page   __of
                 Case 22-13471-pmm                  Doc 13           Filed 01/13/23 Entered 01/13/23 15:04:00                                     Desc Main
                                                                   Document      Page 15 of 30



m
    Debtor   1                                                                                      Case number   (Ilknown)
                      First Name    Mlddda Name        Last Name


                      List Others to Be Notiﬁed for a Debt That You Already Listed
      Use thls page only If you have others to be notiﬁed about your bankruptcy for a debt that you already listed In Part 1. For example, If a collection
      agency is trylng to collect from you for a debt you owe to someone else, Ilst the credltor in Part 1. and then llst the collection agency here. Slmilarly, If
i     you have more than one creditor for any of the debts that you listed In Part 1, llst the addltlonal creditors here. If you do not have additional persons to
      be notified for any debts In Part 1, do not ﬁll out or submit thls page.
§




D                                                                                              On which line In Part    1     dld you enter the credltor?
             Name                                                                              Last 4 digits of account number         ____
             Number        Street




             City                                         State         ZIP Code


U                                                                                              On which line in Part    1     dld you enter the creditor?
             Name                                                                              Last 4 digits of account number         ____
             Number        Stree‘




             City                                         State         ZIP Code


U                                                                                              On which line in Part    1   did you enter the creditor?

             Name                                                                              Last 4 digits of account number __           __ __ __

             Number        Street




             City                                         State         ZIP Code

                                                                                               On whlch Ilne In Part        did you enter the creditor?
|_|                                                                                                                     1


             Name                                                                              Last 4 digits of account number         ____
             Number        Street




             City                                         State         ZIP Code

                                                                                               On whlch line in Part    1   dld you enter the credltor?     __
             Name                                                                              Last 4 digits of account number         __   _~_   __
             Number        Street




             City                                         State         ZIP Code

                                                                                               0n whlch line In Part    1     dld you enter the creditor?

             Name                                                                              Last 4 dlglts of account number __           __ __    _
             Number        Street




             City                                         State         ZIP Code



Ofﬁclal Form 106D                                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page   __ of   _
              Case 22-13471-pmm                                 Doc 13           Filed 01/13/23 Entered 01/13/23 15:04:00                                                    Desc Main
                                                                               Document      Page 16 of 30
      Fill in this information to identify your case:

      Debtor        1            A.
                             Flrsl Name
                                                                                           MHA
      Debtor 2
      (Spouse, If ﬁling) First Name                          Mlddle Name                      Last Name


      Unlted States Bankruptcy Court for the:                              District of

      Case number
      (If known)
                                           ~17; r541:                                                                                                                       El Check if this
                                                                                                                                                                                amended ﬁling
                                                                                                                                                                                                      is an




 Ofﬁcial Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                 12/15

 Be as complete and accurate as possible. Use Part 1 for creditors wlth PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a clalm, Also list executory contracts on Schedule
 A/B: Property (Ofﬁcial Form 106MB) and on Schedule G: Executory Contracts and Unexpired Leases (Ofﬁcial Form 1066). Do not Include any
 creditors with partially secured claims that are llsted In Schedule D: Creditors Who Have Claims Secured by Property. If more space Is
 needed, copy the Part you need, fill It out, number the entries In the boxes on the left. Attach the Contlnuatlon Page to this page. On the top of
 any additional pages, write your name and case number (if known).


m1.
        '
                         Llst All of Your PRIORITY Unsecured Claims
         Do any creditors have prlorlty unsecured claims against you?
            No. Go to Part 2.
            D Yes.
 2.         List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
            each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts. list that claim here and Show both priority and
            nonpriorlty amounts. As much as possible. list the claims In alphabetical order according to the creditor’s name. If you have more than two priority
            unsecured claims, ﬁll out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors In Part 3.
            (For an explanation of each type of clalm, see the instructions for this form In the instruction booklet.)                                         '

                                                                                                                                                *Totai claim       ,
                                                                                                                                                                       :   Pilority              Nonprldrity
                                                                                                                                                                           amount                amount    ,




2.1

             Prlority Creditofs Name
                                                                                  Last 4 digits of account number         __   _ _ __           3                                            $


                                                                                  When was the debt Incurred?
             Number               Street

                                                                                  As of the date you ﬁle. the claim is: Check all that apply,

             City                                    State    ZIP Code
                                                                                  B      Contingent
                                                                                  El Unliquidated
             Who incurred the debt? Check one.
                                                                                  CI Disputed
             El Debtor       1   only
             C] Debtor 2 only                                                     Type of PRIORITY unsecured claim:
                    Debtor   1   and Debtor 2 only
                                                                                  CI Domestic support obligatlons
             a At least one Of the debtors and another                            D      Taxes and certain other debts you owe the government
             D      Check if this claim is for a community debt                   Cl Claims for death or personal injury while you were
             Is the claim subject to offset?                                             intoxicated
             I]     No                                                            D      Other. Specify
             D      Yes
2'2
        I
             Priority Creditur's Name
                                                                                  Last 4 digits of account number         _ __ ____             $                                            5

                                                                                  When was the debt Incurred?
             Number               Street
                                                                                  As of the date you ﬁle. the claim is: Check all that apply‘
                                                                                  D      Contingent
             City                                    State   ZIP Code             D      Unliquidated

             Who Incurred the debt? Check one.                                    El Disputed
             D      Debtor1 only
                                                                                  Type of PRIORITY unsecured claim:
             El Debtor2          only
                                                                                  [3     Domestic support obligations
             C] Debtor 1 and Debtor 2 only
             CI At least one of the debtors and another
                                                                                  D      Taxes and certain other debts you owe the government
                                                                                  D      Claims for death or personal Injury while you were
             El Check If this claim Is for a community debt                              Intoxicated
             Is the claim subject to offset?                                      D      Other. Specify
             Cl No
             '3     YES,



 Official Form 106E/F                                                 Schedule EIF: Creditors Who Have Unsecured Claims                                                               page   1   of   _
                  Case 22-13471-pmm                                 Doc 13            Filed 01/13/23 Entered 01/13/23 15:04:00                                                          Desc Main
                                                                                    Document      Page 17 of 30


m
         Debtor   1                                                                                                                        Case number     (ilk/1mm)
                             Flrsl Name         Middle Name             Last Name


                            Your PRIORITY Unsecured Claims                          ——
                                                                                         Continuation Page
         After listing any entrles on th‘s page, number them beginning with 2.3. foilowed by 2.4, and so forth.                                                        'Tpté‘liciﬁim’         ZN’bnpriority
                                                                                                                                                                             '
                                                                                                                                                                                   ,
                                                                                                                                                                                              ampunt

‘




              Priority Creditors Name
                                                                                     Last 4 dlglts of account number                  _ __                             5                     $


                                                                                     When was the debt Incurred?
              Number               Street

                                                                                     As of the date you ﬁle. the claim is: Check all that apply.

                                                                                     D         Contingent
              City                                         State   ZIP Code          C] Unliquidated
                                                                                     D         Disputed
              Who Incurred the debt? Check one.
              D       Debtor1 only                                                   Type of PRIORITY unsecured claim:
              D       Debtor 2 only
                                                                                     [3        Domestic support obligations
              El Debtor        1   and Debtor   2   only                                                        ‘
                                                                                     C] Taxes and certain other debts you owe the government
              D       At least one of the debtors and another
                                                                                         D        .
                                                                                               Claims for death or personal
                                                                                                                              .   .
                                                                                                                              II’IJUl'y
                                                                                                                                            .
                                                                                                                                          while you were
                                                                                               intoxicated
              CI Check if this claim is for a community debt
                                                                                         D     Other. Specify

              Is the claim subject to offset?
              Cl No
              D       Yes


‘




              Priority Creditors Name
                                                                                     Last 4 dlglts of account number                  _ __ _ _                         $                     3



                                                                                     When was the debt Incurred?
              Number                Street

                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                         D     Contingent
              C'rty                                        State   ZIP Code              C] Unliquldated
                                                                                         E] Disputed
              Who Incurred the debt? Check one.
              Cl Debtor1 only                                                        Type of PRIORITY unsecured claim:
              D       Debtor 2 only
                                                                                         G     Domestic suppon obligations
              El Debtor1           and Debtor 2 only
                                                                                         U     Taxes and certain other debts you owe the government
              D       At least one of the debtors and another
                                                                                         D     Claims for death or personal Injury while you were
                                                                                               'ntox'cated
              El Check If this clalm is for a community debt
                                                                                         D     Other. Speclfy

              Is the       claim subject to offset?
              [3      No
              D       Yes



              Priority Creditors Name
                                                                                         Last 4 digits of account number              _                                $                      5



                                                                                     When was the debt Incurred?
              Number                Street

                                                                                         As of the date you ﬁle, the claim ts: Check              ah   ‘ha‘ apply.

                                                                                         E] Contingent
              Clty                                         State   ZIP Code              E] Unliquidated
                                                                                         D     Disputed
              Who Incurred the debt? Check one.
              C] Debtor1 only                                                        Type of PRIORITY unsecured claim:
    ,
              D       Debtor 2 only
                                                                                               Domestic support obligations
    ‘
              U       Debtor1 and Debtor 2 only
                                                                                         DUO   Taxes and certain other debts you owe the government
              C] At least one of the debtors and another
                                                                                               Claims for death or personal injury while you were
                                                                                               intoxicated
              D       Check if this claim is for a community debt                        C! Other. Specify

              Is the claim subject to offset?
              D       No
              D       Yes


        Ofﬁcial Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                      page   _ of __
          Case 22-13471-pmm                              Doc 13           Filed 01/13/23 Entered 01/13/23 15:04:00                                         Desc Main
                                                                        Document      Page 18 of 30
 Debtor   1                                                                                               Case number   (ilknown)




m
                      Firs! Nams        Middie Name         Last Name


                     List All of Your NONPRIORITY Unsecured Claims
  3.   Do any creditors have nonpriority unsecured claims against you?
              No. You have nothing to report in this part. Submit this form to the court with your other schedules.
              Yes

  4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured Claim, iist the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       inciuded in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.” you have more than three nonpriority unsecured
       claims ﬁll out the Continuation Page of Part 2.



a       Nonpriority Creditor’s Name
                                                                                    Last 4 digits of account number __                  “——                  $
                                                                                                                                                                 T9¢a_l_9'?‘,,mv




                                                                                   When was the debt incurred?
        Number               Street


        City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                    [.1 Contingent
        Who incurred the debt? Check one.                                           E] Unliquidated
        C] Debtor       1   only                                                    CI Disputed
        D      Debtor 2 only
        CI Debtor1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        C] At least one of the debtors and another                                  D    Student loans
        [I     Check if this claim is for a community debt                          D    Obligations arising out of a separaﬁon agreement or divorce
                                                                                         that you did not report as priority claims
        Is the claim subject to offset?                                             [I   Debts to pension or proﬁt-sharing plans, and other similar debts
        D      No                                                                   D    OtherA Specify
        D      Yes


E.                                                                                  Last 4 digits of account number        ____ _____                        $
        Nonpriority Creditofs Name                                                 When was the debt incurred?


        Number               Street
                                                                                   As of the date you file, the claim is: Check all that apply.
        Cily                                             State          ZIP Code
                                                                                    D    Contingeni
        Who incurred the debt? Check              one_                              D    Unliquidated

        D      Debtor   1   only
                                                                                    D    Disputed

        D      Debtorz onIy
        D      Debtor   1   and Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
        C] At least one of the debtors and another                                 D     Student loans
                                                                                   CI Obligations arising out ofa separation agreement or divorce
        [:1    Check if this claim is for a community debt                            that you did not report as priority claims
        Is the claim subject to offset?                                            0  Debts to pension or proﬁt-sharing plans, and other similar debts

        D      No                                                                  D     Other. Specify

        D      Yes


[i      Nonpriority Creditor’s Name
                                                                                   Last 4 digits of account number
                                                                                   When was the debt incurred?
                                                                                                                           __           _____.
                                                                                                                                                             $



        Number               Street

                                                                                   As of the date you ﬁle, the claim is: Check          an   that appiy.
        City                                             State          ZIP Code

        Who incurred the debt? Check one.
                                                                                   D     Contingent
                                                                                   E] Unliquidated
        D      Debtor   1   only
                                                                                   D     Disputed
        C] DebtorZ only
        C] Debtor1 and Debtor          2 only
                                                                                   Type of NONPRIORITY unsecured claim:
        D      At least one of the debtors and another
                                                                                   D     Student loans
        [3 Check if this claim is for a community debt                             D     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
        Is the claim subject to offset?
                                                                                   D     Debts to pension or proﬁt-sharing pians, and other similar debts
        :1     No
                                                                                   D     Other. Specify
        D      Yes




Ofﬁcial Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                          page   ”   of____~
             Case 22-13471-pmm                             Doc 13          Filed 01/13/23 Entered 01/13/23 15:04:00                                      Desc Main
                                                                         Document      Page 19 of 30
    Debtor   1                                                                                                Case number   (ifknown)
                       stI Name         Middte Name           Lam Name




                      Your NONPRIORITY Unsecured Clalms -- Continuation Page


     After listing any entries on thls page, number them beginning with 4.4, followed by 4.5, and so forth.                                                             Tgta! clalm   ,
                                                                                                                                                                                          j




:1                                                                                         Last 4 digits of account number          __      __ __                   $
          Nonprlorlty Creditors Name
                                                                                           When was the debt incurred?

         N um be r         su ea t
                                                                                           As of the date you ﬁle, the clalm ls: Check all that apply.

          City                                             State         ZIP Code          I]   Contingent
                                                                                           CI Unliquidated
         Who Incurred the debt? Check one.                                                 CI Disputed
          D      Debtor1 only
          CI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
             Dabtor1 and Debwrz only                                                       G    Student loans
          a  At least one of the debtors and another                                       Cl Obligations arislng out of a separation agreement or divorce that
                                                                                                you dld not ”PM as priority c'alms
          Cl Check if this clalm Is for a community debt
                                                                                           D    Debts to penslon or proﬁt-sharing plans. and other similar debts
          Is the clalm subject to offset?                                                  CI Other. Specify
          D      No
          D      Yes



    —I                                                                                     Last 4 digits of account number          __   _ __ __                    $

          Nonpriority Creditors Name
                                                                                           When was the debt Incurred?

          N um be r        Str ea l
                                                                                           As of the dam you flle, the claim Is: Check ail that apply.
,
          cny                                              State         ZIP Code          El Contingent
                                                                                           Cl UnIIquIdated
          Who Incurred the debt? Check one.                                                CI Disputed
          El Debtor 1 only
          CI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
          D  Debtor1 and DebtorZonly                                                       D    Student loans
          D      At least one of the debtors and another                                   D    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
          D      Check If this claim is for a communit y debt
                                                                                           D    Debts to pension or proﬁt-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   CI Other. Specify
          D      No
          D      Yes


._J                                                                                        Last 4 digits of account number          __      _ __                    3


          Nonpriority Credltor's Name
                                                                                           When was the debt Incurred?

          N um be r         Str ea t
                                                                                           As of the date you ﬁle, the claim ls: Check all that apply.

          any                                              State         ZIP Code           El Comingent
                                                                                            El Unliquidated
          Who incurred the debt? Check one.                                                 D   D\sputed
             CI Debtor1 only
             C] Debtor 2 only                                                              Type of NONPRIORITY unsecured clalm:
             D   Debtor1 and Debtor2 only                                                   D   Student loans
             D   At least one of the debtors and another                                    D   Obligations arising out of a separation agreement or divorce that
                                                                                                you dld not report as priority claims
             D   Check If thls clalm Is for a community debt
                                                                                            D   Debts to pension or proﬁt-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   D   Other. Specify
             DNO
             D   Yes




    Ofﬁcial Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                    page   _ of __
          Case 22-13471-pmm                      Doc 13              Filed 01/13/23 Entered 01/13/23 15:04:00                                    Desc Main
                                                                   Document      Page 20 of 30
 Debtor   1                                                                                         Case number      (Mknown)
                   First Nama    Middle Name           Last Name




m 5.
                  Llst Others to Be Notiﬁed About a Debt That You Already Listed

       Use this page only If you have others to be notiﬁed about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
       example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
       2, then list the collection agency here. Similarly. if you have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the
       additional cradltors here. If you do not have addltional persons to be notlfled for any debts in Parts 1 or 2, do not ﬁll out or submit this page.

                                                                              On which entry in Part   1   or Part   2   did you list the original creditor?
         Name

                                                                              Line       of (Check one): CI Part          1: Creditors wlth Priority Unsecured Claims
         Number         5““                                                                                  CI Part 2: Creditors with Nonpriority Unsecured Claims

                                                                              Last 4 digits of account number __                __
         cuy                                   Sm‘e                ZIP Code


                                                                              On which entry in Part1 or Part 2 did you           list the original credltor?
         Name

                                                                              Line       of (Check one):      D   Part 1: Creditors with Priority Unsecured Claims
         Number         sue“                                                                                  D   Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims


        Cny                                    Slate               ZIP Code
                                                                              Last 4 digits of account number        _ __
                                                                              On which entry In Part   1   or Part   2   dld you list the orlginal creditor?
        Name

                                                                              Line       of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
        Number          5"96‘                                                                                 CI Part 2: Creditors with Nonprion‘ty Unsecured
                                                                              Claims


        Cﬂy                                    State               ZIP Code
                                                                              Last 4 digits of account number        _ __
                                                                              On which entry in Part1 or Part 2 dld you           list the original creditor?
        Name

                                                                              Line       of (Check one): CI Pan 1: Creditors with Priority Unsecured Claims
        Number          5W“                                                                                   C] Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims


        City                                   State               ZIP Code
                                                                              Last 4 digits of account number        _ __ __ __
                                                                              On which entry In Part   1   or Part   2   did you list the original creditor?
        Name

                                                                              Line       of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
        Number          5""9‘                                                                                 Cl Pan 2: Creditors with Nonprlority Unsecured
                                                                              Claims


        City                                   State               ZIP Code
                                                                              Last 4 digits of account number        _ __
                                                                              On which entry In Part   1   or Part   2   did you list the original creditor?
        Name

                                                                              Line       of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
        Number          SW"                                                                                   C] Part 2: Creditors with Nonpriorlty Unsecured
                                                                              Claims


        Clty                                   State               ZIP Code
                                                                              Last 4 digits of account number        _ __ __          ____



                                                                              On which entry in Part1 or Part 2 did you list the original creditor?
        N ame


                                                                              Line       of (Check one):      D   Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                                                    .      .
                                                                                                              Cl Pan 2: Creditors wnth Nonprlorlty Unsecured
                                                                              Claims


        City                                   State               ZIP Code
                                                                              Last 4 digits of account     number_          _ _ __
Ofﬁcial Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       page __ of___
         Case 22-13471-pmm                           Doc 13         Filed 01/13/23 Entered 01/13/23 15:04:00                  Desc Main
                                                                  Document      Page 21 of 30
Debtor   1                                                                                   Case number   (uknown)
               First Name          Middka Name        Last Name




m
6.
             Add the Amounts for Each Type of Unsecured Claim


     Total the amounts of certain types of unsecured clalms. Thls Information Is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




                                                                                       Total clalm


                Ba.        Domestic support obligations                          6a.
Total claims
from Part 1
                6b. Taxes and certain other debts you owe the
                           government                                            6b.

                60. Clalms         for death or personal Injury while you were
                           Intoxicated                                           6c.

                6d. Other. Add all other prion‘ty unsecured claims.
                    Write that amount here.                                      6d.




                69. Total. Add lines 6a through 6d.                              6e.




                                                                                       Total clalm

                   .       Student loans                                         6f.
Total claims
from Part 2            .   Obllgatlons arising out of a separation agreement
                           or divorce that you did not report as priority
                           claims                                                69.

                6h. Debts to pension or proﬁt-sharing plans, and other
                           similar debts                                         6h.


                6|. Other. Add all other nonpriority unsecured claims.
                           Write that amount here.                               6].




                6j. Total. Add lines 6f through 6i.                              6j.




Ofﬁcial Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of   __
           Case 22-13471-pmm                                  Doc 13            Filed 01/13/23 Entered 01/13/23 15:04:00                          Desc Main
                                                                              Document      Page 22 of 30

  Fill in this information to identify your case:

  Debtor
                      ."          ’
                                       >




                                           ~
                                                   <(
                                                              >




                                                                   "                               ‘ﬂ
                      "ﬁm Name                 ‘
                                                   \7      Middle Name                 Last Name

  Debtor 2
  (Spouse If ﬁling)    Flm Name                            Middle Name                 LastNama


  United States Bankruptcy Court for the:                                District of

  Case number
  (If known)
                                      22 '           I‘     Qij‘                                                                                  D   Check if this is an
                                                                                                                                                      amended ﬁling


Ofﬁcial Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                              12:15

Be as complete and accurate as possible.  if two marrled people are ﬂllng together, both are equally responsible for supplying correct
informatlon. If more space ls needed, copy the addltlonal page, ﬁll it out, number the entries, and attach It to this page. On the top of any
additional pages, wrlte your name and case number (if known).

 1.    D      you have any executory contracts or unexpired leases?
              No. Check this box and me this form with the court with your other schedules. You have noth‘ng else to report on ‘his form.
       D      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Ofﬁcial Form 106A/B).

 2, List separately each person     or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.



       Person or company with whom you have the contract or lease                                       State what the contract or lease Is for


2.1;
       Name


       Number            Street


       City                                        State          ZIP Code

2.2?

       Name


       Number            Street


       City                                        State          ZIP Code

23‘
       Name


       Number            Street


       City                                        State          ZIP Code

2.4
       Name


       Number            Street


       City                                        State          ZIP Code

2.5;
       Name


       Number            Street


       City                                        State          ZIP Code


Ofﬁcial Form 1066                                          Schedule G: Executory Contracts and Unexpired Leases                                        page   1   of—
           Case 22-13471-pmm                         Doc 13           Filed 01/13/23 Entered 01/13/23 15:04:00                   Desc Main




  -
                                                                    Document      Page 23 of 30

  Debtor   1                                                                                    Case number   (ifknown)
                First Name    Middle Name               Las‘ Name



                Additional Page if You Have More Contracts or Leases

       Person or company with whom you have the contract or lease                            What the contract or lease is for



       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




       Name


       Number        Street


       City                                 State      ZIP Code




Ofﬁcial Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                           page   _   of _____
       Case 22-13471-pmm                                                                  Doc 13                Filed 01/13/23 Entered 01/13/23 15:04:00                                                  Desc Main
                                                                                                              Document      Page 24 of 30

 Fill in this information to identify your case:

 Debtor   1
                          g L.                                '


                                                                                       Middle Name
                                                                                                      ‘
                                                                                                      '
                                                                                                                           W+‘\ ﬂ
                                                                                                                           Last Name

 Debtor 2
 (Spouse. lfﬂﬂng) Flrsl Name                                                           M30609 Name                         Lasl Name


 United States Bankruptcy Coun for “19:                                                              District of

 Case number
  (If known)
                                                     2‘2              ’           ‘g 1+”
                                                                                      '
                                                                                                          I
                                                                                                                                                                                                          El Check if this   is an
                                                                                                                                                                                                             amended ﬁling

Ofﬁcial Form 106H
Schedule H: Your Codebtors                                                                                                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two marrled people
are ﬁling together, both are equally responslble for supplylng correct information. If more space Is needed, copy the Addltlonal Page, ﬂll It out,
and number the entries In the boxes on the left. Attach the Additional Page to thls page. On the top of any Additional Pages, write your name and
case number (If known). Answer every question.

 1.   Do ou have any codebtors? (If you are ﬁling a Joint case. do not list either spouse as a codebtor.)
      '52 No
      CI Yes
 2.   Within the last 8 years, have you lived In  a communlty property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada. New Mexico, Pueno Rico. Texas, Washington. and Wisconsin.)
              No. Go to line 3.
      El Yes. Dld your spouse. former spouse, or legal equlvalent live with you at the tlme?
              DNo
              D Yes.                In whlch community state or territory did you live?                                                                      .   Fill in the name and current address of that person.



                     Name of your spouse, former spousa. or legal equlvalem



                     Number                          Stmet



                     City                                                                            Stem                                ZIP Code


 3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is ﬁling with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or coslgner. Make sure you have listed the creditor on
       Schedule D (Ofﬁcial Form 106D), Schedule E/F (Ofﬁcial Form 106EIF), or Schedule G (Ofﬂclal Form 1066). Use Schedule D,
      Schedule E/F, or Schedule G to ﬁll out Column 2.

       Column 1: Your codebtor                                                                                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                                                                                        Check all schedules that apply:

3.1
                                                                                                                                                                        CI Schedule D. line
         Name
                                                                                                                                                                        Cl Schedule E/F. line
         Number                       Street                                                                                                                            Cl Schedule G, line

         CRY                           _.       .7        ,                   U   .,                      State                           2”: cm“
3.2
                                                                                                                                                                        CI Schedule D, line
          Name
                                                                                                                                                                        Cl Schedule E/F, Ilne
         Number                       Stree‘                                                                                                                            CI Schedule G. line

         City    7    y     y               y                     _       _   N                           State        7     ,       7
                                                                                                                                          ZIP    owe
3.3
         Name
                                                                                                                                                                        CI Schedule D, line    ——
                                                                                                                                                                        Cl Schedule E/F, line
         Number                       Street                                                                                                                            D   Schedule G, line

         City                   ‘                     _
                                                                                                          State   ,          ,   ,
                                                                                                                                          [ZIP   VC_o_d‘ey




Ofﬁcial Form 106H                                                                                                     Schedule H: Your Codebtors                                                               page   1   of__
                Case 22-13471-pmm                                   Doc 13         Filed 01/13/23 Entered 01/13/23 15:04:00                                      Desc Main




 -
                                                                                 Document      Page 25 of 30

 Debtor         1                                                                                                        Case number (Mnewn)
                                   First Nama          MMdla Name    Last Name




                                   Additional Page to List More Codebtors

               Column 1: Your codebtor                                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                                               Check all schedules that apply:

 :1
 3-_

                                                                                                                               D    Schedule D, line
               Na me
                                                                                                                               D    Schedule E/F. Ilne

               Number                         swam                                                                             CI Schedule G, line



       ,
               City                                                       sung                              ZIP Code


 21                                                                                                                            CI Schedule D, line
               N ame
                                                                                                                               Cl Schedule E/F, line

                Number                        Street                                                                           CI Schedule G, line ______


               City                                                       State»   _,                   ,
                                                                                                            ZIP Cede



 a              N ame
                                                                                                                               CI Schedule D, line
                                                                                                                               El Schedule E/F, Ilne
                Number                        Street                                                                           D    Schedule G, line     __
                City                                                      State                             ZIP Code



 a              N ame
                                                                                                                               CI Schedule D, line
                                                                                                                               U    Schedule E/F. line

                Number                        Street                                                                           D    Schedule G, line     __
               City                                                       State                             ZIP Code


 :4                                                                                                                            C] Scheduie D, line
                N ame
                                                                                                                                CI Schedule E/F, line

                Number                        Street                                                                            D   Schedule G, “I18     __
           ,   .C'F)’,   ,,   ,.         ,,     ,                        ﬁt“?      ,,           ,   ,       ,Z'P QWE,‘


 a              N ame
                                                                                                                                CI Schedule D, line
                                                                                                                                C] Schedule E/F, line

                Number                        Street                                                                            :1 Schedule    G, line   __
                City                                                       Stale   ,
                                                                                                            ZIP Code


 a              N ame
                                                                                                                                CI Schedule D, line
                                                                                                                                CI Schedule E/F, line

                Number                        Street                                                                            Cl Schedule G, line      __
                                                                                                                  d
                                                                                                                  eq
 a              City                                                       Skate                            ZIP



                                                                                                                                CI Schedule D, line
                N ame
                                                                                                                                Cl Schedule E/F. line

                Number                        Street                                                                            [3 Schedule    G, line   __
               City                                                        State                            ZIP Code




Ofﬁcial Form 106H                                                                       Schedule H: Your Codebtors                                                  page   _   of
            Case 22-13471-pmm                       Doc 13            Filed 01/13/23 Entered 01/13/23 15:04:00                                                  Desc Main
                                                                    Document      Page 26 of 30




                        W
     Fill in this information to identify your case:


     Debtor   1
                        F   1Name                Middie Name
                                                                             wwan
                                                                               Last Name

     Debior 2
     (Spouse, if ﬁling) First Name               Middle Name                   Last Name


     United States Bankruptcy Court for the:                   District of

     Case number
      (If known)
                                     ‘21- ﬂ,         I’ll                                                                      Check if this is:
                                                                                                                               [I An amended ﬁling
                                                                                                                               D   A supplement showing postpetition chapter 13
                                                                                                                                   income as of the following date:
    Ofﬁcial Form 106|                                                                                                              MM / DD/ YYYY

    Schedule I: Your Income                                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are ﬁling together (Debtor 1 and Debtor 2), both are equally responsible for
supplylng correct Information. If you are marrled and not filing Jointly, and your spouse is Ilvlng with you, Include Information about your spouse.
If you are separated and your spouse Is not fillng with you, do not Include information about your spouse. If more space ls needed, attach a
separate sheet to this form. 0n the top of any addltlonal pages, write your name and case number (if known). Answer every question.


m
:1. Fill in
                       Describe Employment

                your employment
                                                                                          Debtor                                               Debtor 2 or non-ﬁling spouse
          information.                                                                                1


          If you have more than one job,
          attach a separate page with
          information about additional         Employment status                       E{Employed                                              CI Employed
          employers.                                                                   D      Not employed                                     CI Not employed

          Include part-time. seasonal, or
          self-employed work.
          Occupation may include student
                                               Occu p ation                    £1“ ”firm Wing, Pom/mm
          or homemaker, if it applies.
                                               Employer’s name                         OdONOJ/Q VOMN                                        Pav‘mg
                                               Employer’s address                      330                 POM wgp                 Qd
                                                                                       Number        Street                                  Number    Street




                                                                               ‘
                                                                                   *




                                                                                       City
                                                                                                ‘
                                                                                        walk/1‘ L     w        State
                                                                                                                    (A        t 460
                                                                                                                       ZIP Code              City                 State   ZIP Code

                                               How long employed there?                                   {3                                  %~l’
m                      Give Details About Monthly Income

          Estimate monthly Income as of the date you ﬁle this form. If you have nothing to report for any line, write $0 in the space. Include your non-ﬁling
          spouse unless you are separated.
          If you or your non-ﬁling spouse have more than one employer, combine the information for all employers for that person on the lines
          below. If you need more space, attach a separate sheet to this form.

                                                                                                                           For Debtor   1     For Debtor 2 or
                                                                                                                                              non-filing spouse
     2‘    List monthly gross wages, salary, and commissions (before all payroll
           deductions). If not paid monthly. calculate what the monthly wage would be.                         2.
                                                                                                                       $    léiéﬂ)                 $

                                                                                                                                             +$

                                                                                                                           E
     3.    Estimate and list monthly overtime pay.                                                             3.+$            M
,    4.    Calculate gross income. Add line     2 + line 3.                                                    4.




    Ofﬁcial Form 106|                                                        Schedule          I:   Your Income                                                           page   1
             Case 22-13471-pmm                                     Doc 13              Filed 01/13/23 Entered 01/13/23 15:04:00                                                           Desc Main
                                                                                     Document      Page 27 of 30

                        Qgi‘m                Méddle Name
                                                           W             East Name
                                                                                       wan                                                                                         $22”        1ng;

    5.
          Copy line 4 here ...............................................................................................

          List all payroll deductions:

           5a. Tax, Medicare, and Social Security deductions
                                                                                                                             9 4.

                                                                                                                               5a.
                                                                                                                                      mFor Debtor




                                                                                                                                       $
                                                                                                                                                          A




                                                                                                                                                     4(4 19;;
                                                                                                                                                              1            For Debtor 2 or
                                                                                                                                                                           ngn-ﬁling §Eggsg
                                                                                                                                                                               $




                                                                                                                                                                               $

           5b. Mandatory           contributions for retirement plans                                                          5b.     $                      _é,_             $

           5c.     Voluntary contributions for retirement plans                                                                50.     $                                       $

           5d. Required repayments of retirement fund loans                                                                    5d.     $                                       $

           5e. Insurance                                                                                                       5e.     3                                       $

           5f. Domestic support obligations                                                                                    5f.     33                                      $

           59. Union dues                                                                                                      59.     $                                       $

:
           5h.     Other deductions. Specify:                                                                                  5h.    +$                          ,
                                                                                                                                                                           +   $
t




     6.    Add the payroll deductions. Add lines 5a + 5b + 50 + 5d +                                Se   +5f + 59    + 5h.     6.      $        5 37¢ q ‘                      $


:    7.    Calculate total monthly take-home pay. Subtract line                              6 from line 4.                    7.      $    t   2%
                                                                                                                                                     m7”; 0%                   $


     8.   List an other income regularly received:
           8a. Net income from rental property and from operating a business,
                   profession. or farm
                   Attach a statement for each property and business showing gross
                   receipts. ordinary and necessary business expenses. and the total
                                                                                                                                       $
                   monthly net income.                                                                                         8a.
            8b. Interest and dividends                                                                                         8b.     $              O
           8c. Family     support payments that you,                     a   non-ﬁling spouse, or a dependent
                   regularly receive
                   Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                       $             F)
                   settlement, and propeny settlement.                                                                         Sc.

           8d. Unemployment compensation                                                                                       8d.     $             O
            86:.   Social Security                                                                                             Be.     $             D
            8f.    Other government assistance that you regularly receive
                   Include cash assistance and the value (if known) of any non-cash assistance
                   that you receive, such as food stamps (beneﬁts under the Supplemental
                   Nutrition Assistance Program) or housing subsidies.
                   Specify:                                                                                                    8f.     $


            89. Pension or retirement income                                                                                   89.     $             0                         $

            8h. Other monthly income. Specify:                                                                                 8h.    +$             O
;




     9.    Add all other income. Add lines 8a                    + 8b + 80 + 8d + 8e +           8f +89 + 8h‘                   9.     $    ~.(L_
    10.Ca|culate monthly income. Add line 7 + line 9.                                                                                                             Sq
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non—ﬁling spouse.                                                10.
                                                                                                                                                     ‘4                +       $                    H   m




    11.   State all other regular contributions to the expenses that you list in Schedule J.
          Include contributions from an unmarried partner, members of your household. your dependents, your roommates, and other
          friends or relatives.
          Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
          Specify:                                                                                                                                                                            11.   +   $      ‘ 2

    12‘   Add the amount in the last column of line 10 to the amount in line 11. The resutt is the combined monthly income.
’

          Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                                  12.       $
                                                                                                                                                                                                                     (2
                                                                                                                                                                                                                     LA
                                                                                                                                                                                                                          C

                                                                                                                                                                                                              _
                                                                                                                                                                                                        Combinea
,
                                                                                                                                                                                                        monthly income
_    13.   Do you expect an increase or decrease within the year after you file this form?
              No.
            D      Yes. Explain:


    Ofﬁcial Form 106!                                                                           Schedule       1:   Your Income                                                                             page 2
                Case 22-13471-pmm                         Doc 13             Filed 01/13/23 Entered 01/13/23 15:04:00                                         Desc Main
                                                                           Document      Page 28 of 30


       Fill in this information to identify your case:

       Debtor     1          p’ﬂ’ﬂﬂCbﬂ
                             Warns                     Mmdle Na'me
                                                                                   '   Lasl Name                        CheCk if this is:
       Debtor 2
       (Spouse. If ﬂllng)    Fursl Name                Middie Name                     LaslName
                                                                                                                        D  An amended ﬁling
                                                                                                                                              .




                                                                                                                        El A supplement showing postpetition chapter 13
       United States Bankrup‘cy Coun for the:                        District of
                                                                                                                           expenses as of the following date:
       Case number
       (Ifknown)
                                              12 ’    1341             |
                                                                                                                            MM / DD/ YYYY




  Official Form 106J
  Schedule J: Your Expenses                                                                                                                                                   12/15

  Be as complete and accurate as possible. If two marrled people are fillng together, both are equally responslble for supplylng correct
  information. If more space ls needed, attach another sheet to this form. 0n the top of any additional pages, write your name and case number



m (if known). Answer every question.



 1.    ls this a joint case?
                            Describe Your Household


                No. Go to Ilne 2.
        D       Yes. Does Debtor 2 live In a separate household?

                      CI No
                      D     Yes. Debtor 2 must ﬁle Ofﬁcial Form 106J-2. Expenses for Separate Household of Debtor 2.

 2.     Do you have dependents?                      D   No
                                                                                                     Dependent's relationship to              Dependent's        Does dependent llve
        Do not list Debtor          1   and          ﬁYes. Fill out this information for             Debtor 1 Of Debt” 2                      59°                Wm" YOU?
        Debtor 2.                                        each dependent ..........................
        Do not state the dependents'                                                                   DOA) ONE!”                                 7             3N0
        names.                                                                                         ‘7      V                                                      Yes

                                                                                                       DMMW
                                                                                                         v                                        4              D    No
                                                                                                                                                                12! Yes
                                                                                                                                                                 D    No
                                                                                                                                                                 [I   Yes

                                                                                                                                                                 El No
                                                                                                                                                                 D    Yes

                                                                                                                                                                 DNO
                                                                                                                                                               ‘DYes
       Do your expenses Include
 3.
       expenses of people other than
                                                     {No
       yourself and your dependents?                 D   Yes



m                     Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy ﬁling date unless you are using this form as a supplement In a Chapter 13 case to report
 expenses as of a date after the bankruptcy Is filed. If this Is a supplemental Schedule J. check the box at the top of the form and ﬁll In the
 applicable date.
 Include expenses paid for with non-cash government asslstance If you know the value of
 such assistance and have Included It on Schedule I: Your Income (Ofﬁcial Form 106!.)                                                                 Your expenses

  4.    The rental or home ownership expenses for your residence. Include ﬁrst mortgage payments and
        any rent for the ground or lot.                                                                                                 4.        $—EE
         If not Included In llne 4:
         4a.      Real estate taxes                                                                                                     4a.       $
         413.     Property, homeowner’s, or renter‘s insurance                                                                          4b.       $_____
         4c.      Home maintenance. repair, and upkeep expenses                                                                         4c.       $____      low
         4d.      Homeowner's association or condominium dues                                                                           4d.       3


Ofﬁclal Form 106J                                                           Schedule J: Your Expenses                                                                      page   1
               Case 22-13471-pmm                      Doc 13            Filed 01/13/23 Entered 01/13/23 15:04:00                                                   Desc Main
                                                                      Document      Page 29 of 30


                        75me
                        F rs! Name     M(ddle Name
                                                     560% LaJNan‘we
                                                                        Wm;                              Case number      (I/knawn)                22,1347!
                                                                                                                                                           Your expenses


       .   Additional mortgage payments for your residence. such as home equity loans

       .   Utilities:
            6a.    EIectricity, heat, natural gas                                                                                     6a.

            5!).   Water. sewer, garbage coliection                                                                                   (5::‘

            6c.    Telephone. cell phone. Internet, satellite, and cable services                                                     6c.

            6d.    Other. Specify:                                                                                                    6d.

           Food and housekeeping supplies

       .   Childcare and children's education costs
      .    Clothing, laundry, and dry cleaning
 10.       Personal care products and services                                                                                        10.

11.        Medical and dental expenses                                                                                                11.

12.        Transportation. Include gas, maintenance, bus or train fare.
           Do not include car payments.                                                                                               12.

13.        Entertainment, clubs, recreation, newspapers, magazines, and books                                                         13.

           Charitable contributions and religious donations                                                                           14.

           Insurance.
           Do not include insurance deducted from your pay or inciuded in lines 4 or 20.

           15a. Life    insurance                                                                                                     15a.

           15b.    Health insurance                                                                                                   15b.

           150.    Vehicle insurance                                                                                                  150

           15d.    Other insurance. Specify:                                                                                          15d.


16.        Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
           Specify:                                                                                                                   16.


17.        Installment or lease payments:
           17a.    Car payments for Vehicle     1                                                                                     17a.      $

           17b.    Car payments for Vehicle 2                                                                                         17b.      $

           17c.    Other. Specify:                                                                                                    17c.      $

           17d‘ Other. Specify:                                                                                                       17d.      $

18.        Your payments of alimony, maintenance, and support that you did not report as deducted from
           your pay on line 5, Schedule I, Your Income (Official Form 1061).

19.        Other payments you make to support others who do not live with you.
           Specify:

20.        Other real property expenses not included in lines 4 or          5   of this form or on Schedule   I:   Your Income.
           20a.    Mortgages on other property                                                                                        20a.

           20b. Real    estate taxes                                                                                                  20b_

           20c. Property,     homeowner’s, or renter’s insurance                                                                              6369999969




           20d.    Maintenance, repair, and upkeep expenses                                                                           20d.

           20a. Homeowner's association or condominium dues                                                                           206.




Ofﬁcial Form 106.}                                                     Schedule J: Your Expenses                                                                           page 2
              Case 22-13471-pmm                            Doc 13          Filed 01/13/23 Entered 01/13/23 15:04:00                         Desc Main
                                                                         Document      Page 30 of 30


  Debtor      1
                          F3
                                 am (ﬁx
                               t Name      Mlddle Name
                                                         SCﬁ’k
                                                             Last Name
                                                                          MM/ﬁn                       Case number (llknawn)
                                                                                                                                          22'    I647!

 21.    Other. Specify:                                                                                                       21.   +$


22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                                      22a.

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofﬁcial Form 106J—2                               22b.

        22c. Add line 22a and 22b. The result is your monthly expenses.                                                   220




 23.   Calculate your monthly net income.
       23a.       Copy line 12 (your combined monthly income) from Schedule I.                                            23a.

       23b.       Copy your monthly expenses from line 22c above.                                                         23b.


       23c.       Subtract your monthly expenses from your monthly income.
                                                                                                                                     69
                  The result is your monthly net income.                                                                  23c.              .—




24.    Do you expect an increase or decrease in your expenses within the year after you ﬁle this form?

       For example, do you expect to ﬁnish paying for your car loan within the year or do you expect your



       i
       mortgage payment to increase or decrease because of a modiﬁcation to the terms of your mortgage?



       D
           No.
           Yes.       i
                               Explain here:




Ofﬁcial Form 106J                                                         Schedule J: Your Expenses                                                page 3
